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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 9:21-cv-81121-KAM

  NELSON FERNANDEZ,

         Plaintiff,

  vs.

  LIQUOR MANAGEMENT, LLC d/b/a
  CROWN WINE & SPIRITS, a
  Florida limited liability company,

        Defendant.
  ______________________________________/

                 JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

         Plaintiff,   NELSON       FERNANDEZ          ("Plaintiff"),   and   Defendant,     LIQUOR

  MANAGEMENT, LLC d/b/a CROWN WINE & SPIRITS ("Defendant ") (Plaintiff and

  Defendant are collectively, the "Parties"), by and through their respective undersigned attorneys,

  and pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, hereby stipulate to a

  dismissal of this action in its entirety with prejudice. The Parties shall bear their own attorneys'

  fees, costs, and expenses. All Parties consent to the form and content of this Stipulation.

         Dated: September 20, 2021

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  By____s/ Roderick V. Hannah __
      RODERICK V. HANNAH                               By ___s/ Pelayo M. Duran ______
      Fla. Bar No. 435384                                  PELAYO M. DURAN
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